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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


NANOGRAFIX CORPORATION,

                    Plaintiff,
                                           Case No. 5:19-cv-10624-JEL-EAS
v.
                                           Honorable Judith E. Levy
POLLARD BANKNOTE LIMITED                   Mag. Judge Elizabeth A. Stafford

                     Defendant.


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     REPLY BRIEF IN SUPPORT OF POLLARD BANKNOTE LIMITED’S
            MOTION TO BIFURCATE AND STAY DAMAGES
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I.    BIFURCATION IN PATENT CASES IS COMMON

      While bifurcation does not automatically apply in every case, bifurcation is

indeed common and appropriate in patent cases. Dkt. 11 at 1-4. Nanografix cites to

SenoRx v. Hologic, Inc., 920 F. Supp. 2d 565 (D. Del. 2013) for the proposition that

“it is fair to characterize bifurcation as ‘the exception, not the rule’ in civil cases,

including patent cases.” Dkt. 17 at 9. As that case explains, however, unless a party

moves for bifurcation or a court takes some other step to bifurcate, the default

presumption is that all claims will be heard in one trial. SenoRx, 920 F. Supp. 2d at

568. This simply means that patent cases, like all cases, are not automatically

bifurcated.   Contrary to Nanografix’s suggestion, Pollard never argued that

automatic bifurcation applies. Indeed, that is why Pollard is moving to bifurcate.

      Nanografix suggests that this Court “routinely denies” motions to bifurcate in

patent cases. Dkt. 17 at 7-12. This is untrue. 1 Nanografix points to Robert Bosch,

LLC v. Corea Autoparts Producing Corp., as an example where this Court denied a

stay of discovery on damages. Dkt. 17 at 1 n. 1; 2012 WL 13012348 (E.D. Mich.

2012). But the Court in Corea, after bifurcating trial into liability and damages

phases, did not deny the defendant’s request to stay discovery on damages issues


1
  Nanografix also suggests that the court in Mesh Comm, LLC v. E.ON US, LLC,
2011 WL 11563901 (W.D. Ky. 2011), a case within the 6th Circuit, did not stay
damages discovery when it bifurcated damages and liability for trial. Dkt. 17 at 12.
This is false. The Mesh Comm court indeed stayed damages discovery pending the
liability phase of the case. Ex. 1.

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and instead withheld a decision until the entering of a scheduling order. Where the

facts and circumstances specific to a particular case weigh against bifurcation, this

Court—as well as others—have certainly denied motions to bifurcate. But those

cases, including the ones Nanografix cites, are inapposite to the situation at hand.2

II.   POLLARD PRESENTS MUCH MORE THAN A “MERE
      CONTENTION” THAT A SECOND TRIAL IS UNNECESSARY
      Nanografix argues that the mere possibility that a second trial on damages

may be unnecessary is “insufficient for Pollard to carry its burden.” Dkt. 17 at 13.

But Pollard has presented much more than just a mere possibility that a second trial

on damages may be unnecessary. Pollard has presented substantial reasons as to

why Nanografix is unlikely to prevail on liability. Indeed, one would be hard-

pressed to find another patent case in which the asserted patent previously expired—

not just once, but twice—due to failures to pay maintenance fees after the patent

owner ceased business operations following a Chapter 7 (liquidation) bankruptcy

proceeding. 3

2
  See, e.g., Marchese v. Milestone Sys., Inc., 2013 WL 12183618, at *2-3 (E.D. Mich.
2013) (denying motion where a scheduling order was entered more than a year
earlier and where the alleged infringer already produced most (if not all) of requested
financial information); Delphi Auto Sys., LLC v. Vehicle Occupant Sensing Sys.,
2011 WL 2192822, at *2 (E.D. Mich. 2011) (denying motion to bifurcate where
alleged infringer did not raise arguments particular to the circumstances of that case);
K.W. Muth Co. v. Bing-Lear Mfg. Group, 2002 WL 1879943, at *3 (E.D. Mich.
2002) (denying motion to bifurcate where motion was filed over seven months after
a scheduling order had been entered and just shortly before discovery was to close).
3
  Nanografix contends that the Bankruptcy Court was “made aware of U.S. Patent
Application No. 09/589,950…which is the application number of the application that
issued as the ’494 Patent.” Dkt. 17 at 15 n. 8. This is an intentionally misleading

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      Nanografix attempts to push back on Pollard’s inequitable conduct allegations

by arguing that “the petitions to accept the 2nd and 3rd maintenance fees were filed

in accordance with USPTO procedures and accepted by the USPTO.” Dkt. 17 at 15.

But the USPTO requires nothing more than a general statement that the delay was

unintentional. See In re Rembrandt Techs. LP Patent Litig., 899 F.3d 1254, 1261,

1272-73 (Fed. Cir. 2018). If the delay was, in fact, not unintentional, then the patent

is unenforceable due to inequitable conduct. Id. at 1272-75. With respect to

Pollard’s claim of inequitable conduct resulting from the applicant’s failure to

disclose the Clark reference to the USPTO during prosecution, there is no dispute

that the International Search Report found the Clark reference to be “relevant” to

patentability. There also is no dispute that the applicant was aware of the Clark

reference and failed to disclose that reference to the USPTO before the ’494 patent

issued, suggesting that inequitable conduct indeed occurred. Dkt. 3-13.

      Nanografix     contends    that   Pollard’s   non-infringement     argument    is



statement by Nanografix. The ’494 patent, which already issued as a patent in 2002
(Dkt. 1-1), was not included in the schedule of assets HoloWebs submitted to the
Bankruptcy Court. Dkt. 11-2. The Notice of Proposed Abandonment that
Nanografix cites refers to a different patent application, with a different title that
was still pending before the USPTO at the time of the bankruptcy proceeding.
Compare Dkt. 17-7 with Dkt. 1-1 (showing different title on asserted patent);
compare Dkt. 17-7 with Ex. 2 (showing same title on patent application). Although
this different application claimed priority to the application that led to the ’494
patent, the reality is that HoloWebs, in reality, never disclosed the existence of the
issued ‘494 patent to the Bankruptcy Court.



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“unsupported” and “should be given little weight.” Dkt. 17 at 16. But there is

evidence in the record showing that Nanografix cannot prevail on infringement.

Nanografix itself has cited to the patent that Pollard received for its Scratch FX

tickets, which does not make a single mention of the word “engraved” let alone

“engraved” optical elements. C.D. Cal. Dkt. 35-4. “Engraved” optical elements are

a requirement of the ’494 patent and, consequently, Nanografix will be unable to

show that the Scratch FX tickets meet this limitation.

III.   THE LIABILITY AND DAMAGES ISSUES ARE SEPARATE
       Nanografix contends that there would be overlap in the presentation of

evidence in liability and damages phases of the case, pointing to evidence of

commercial success being necessary in the liability phase. Dkt. 17 at 19. Not so.

As Nanografix admittedly recognizes, the evidence introduced to show commercial

success is “of a different character from that to prove damages. The question of

commercial success is not ordinarily determined by a detailed analysis of exhaustive

and intricate financial data, such as is required for proof of damages, but rather by

whether the claimed invention is, broadly speaking, an accepted product and big

seller.” Paine, Webber, Jackson & Curtis, Inc. v. Merrill Lynch, Pierce, Fenner &

Smith, Inc., 587 F. Supp. 1112, 1116 (D. Del. 1984) (emphasis added). In order to

demonstrate commercial success, either sales volume alone or in combination with




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market share data, which is publicly available information, are considered. 4 See,

e.g., Tec Air, Inc. v. Denso Mfg. Mich. Inc., 192 F.3d 1353, 1360-61 (Fed. Cir. 1999);

J.T. Eaton & Co., Inc. v. Atl. Paste & Glue Co., 106 F.3d 1563, 1566 (Fed. Cir.

1997); In re Huang, 100 F.3d 135, 140 (Fed. Cir. 1996). Indeed, courts have granted

motions where this argument has been raised and have rejected that there would be

an overlap in the evidence warranting denial. See, Unwired Planet, LLC v. Google

Inc., 2014 WL 7012499, at *2 (D. Nev. 2014); Robert Bosch LLC v. Pylon Mfg.

Corp., 2009 WL 2742750, at *1 (D. Del. 2009); Industrias Metalicas Marva, Inc. v.

Lausell, 172 F.R.D. 1, 8 (D.P.R. 1997); Princeton Biochems. Inc. v. Beckman

Instruments, Inc., 180 F.R.D. 254, 259 (D.N.J. 1997).

      Nanografix cites to SenoRx to argue that “some real overlap is [still]

inevitable,” which weighs against bifurcation. 920 F. Supp. 2d at 571, n.1. In

SenoRx, the patent owner was alleging damages under a lost profits theory, which

involves an assessment of whether the patent owner has a product that meets the

claims of the asserted patent. SenoRx, 920 F. Supp. 2d at 570-71; Masimo Corp. v.

Philips Elecs. N. Am. Corp., 742 F, Supp. 2d 492, 497 (D. Del. 2010). Here,

Nanografix admits that it is only seeking reasonable royalty damages and will not

be pursuing a lost profits theory because it does not make, and has never made, any


4
 In connection with its motion to transfer, Pollard already produced data on the
number of Scratch FX tickets it has sold and thus further discovery on this issue is
unnecessary for showing commercial success. See C.D. Cal. Dkt. 58 at 1.

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products under the asserted patent. Dkt. 17 at 3. Further, the court in SenoRx found

that there would be a more significant evidentiary overlap between liability and

willfulness issues as opposed to liability and damages issues. SenoRx, 920 F. Supp.

2d at 569-70. Here, Nanografix is not asserting willfulness. Dkt. 17 at 4-5.

IV.   NANOGRAFIX WILL NOT BE PREJUDICED
      Where a patent owner does not practice an asserted patent and does not

compete with the accused infringer, the patent owner is not prejudiced by any alleged

delay resulting from bifurcation as only money damages are at issue. Dkt. 11 at 17.

Besides any alleged delay resulting from bifurcation, Nanografix also attempts to

allege that it is further prejudiced because it is “a small company,” citing to Zen

Design Group, Ltd. v. Scholastic, Inc., 2017 WL 5957199, at *3 (E.D. Mich. 2017).

Contrary to Nanografix’s assertion, this Court in Zen Design did not consider the

size of the parties in reaching its decision on a bifurcation motion. Id.5

V.    NO DAMAGES DISCOVERY HAS BEEN TAKEN
      Nanografix contends that both parties have served and responded to damages

discovery. Dkt. 17 at 6. While Nanografix responded to Pollard’s interrogatories

on the scope of its damages theory, neither Nanografix nor Pollard have produced

damages-related documents.        Although Nanografix “responded” to Pollard’s


5
  Nanografix also cites to Zen for the proposition that statistics weigh against
bifurcation. Dkt. 17 at 11. Zen, however, considered statistics regarding bifurcation
of liability and willfulness—not liability and damages. 2017 5957199, at *3. The
Zen Court, in fact, bifurcated the liability and damages phases of trial. Id. at *1.

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requests for production, Nanografix has not produced a single document relating to

“gross and net revenue, and gross and net profits” or “patent license agreements” as

it implies in its opposition. Dkt. 17 at 6; see Declaration of Kourtney Baltzer

attached as Exhibit 3 (describing documents Nanografix has produced to Pollard).

         Pollard raised bifurcating the case into liability and damages phases in the

parties’ Joint Rule 26(f) report filed in the Central District of California on December

3, 2018. Since that time, Nanografix admitted in its interrogatory responses served

in February 2019, that it does not make or sell products covered by the asserted

patent and is only seeking reasonable royalty damages. Dkt. 11-4 at 5, 7; Dkt. 11-7.

Since that time, Nanografix also withdrew its request for an injunction. Dkt. 17 at 3

n.3. And, since that time, Nanografix made it crystal clear that damages discovery,

and related discovery disputes, would be a burden to Pollard and this Court. 6 For

these reasons, Pollard proceeded to file this formal motion to bifurcate.

VI.      CONCLUSION

         This Court should bifurcate this case and stay damages discovery.

    Dated: April 4, 2019                  Respectfully submitted,
                                          /s/ Susan M. Kornfield
                                          Susan M. Kornfield

6
 Pollard was also unaware of the scope and burden of Nanografix’s requests for
damages documentation until Nanografix served those requests on January 18, 2019.
Further, Pollard was unaware of the extent of depositions that will likely occur on
damages-related topics until Nanografix served its Initial Disclosures (after the
parties filed their Joint Rule 26(f) Report), which lists 12 Pollard witnesses for
damages-related issues. Ex. 4.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 4, 2019, a copy of the foregoing, together with

exhibits and the index of exhibits, was electronically filed with the Clerk of the Court
using the ECF system, which will send notification of such filing to all attorneys of
record registered for electronic filing. I also certify that I have mailed by United

States Postal Service, and sent via email, a copy of the foregoing to the following
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